       Case 1:17-cv-02989-AT Document 1800 Filed 01/25/24 Page 1 of 16




              IN THE UNITED STATES DISTRICT COURT
             FOR THE NORTHERN DISTRICT OF GEORGIA
                        ATLANTA DIVISION

DONNA CURLING, ET AL.,
Plaintiffs,
                                             Civil Action No. 1:17-CV-2989-AT
v.

BRAD RAFFENSPERGER, ET AL.,
Defendants.


  PLAINTIFFS’ MOTION TO EXCLUDE EVIDENCE AND ARGUMENT
        CONCERNING DOMINION DEMOCRACY SUITE 5.17


 I.   INTRODUCTION

      Defendants intend to offer evidence pertaining to the State’s efforts to adopt

a fundamentally new version of the Dominion Voting Systems Democracy Suite

software, Version 5.17, and claim that it somehow mitigates some of the

vulnerabilities Dr. Halderman identified that that the Cybersecurity Infrastructure

Security Agency (“CISA”) validated.       Evidence regarding both the mitigation

methods and Version 5.17 is inadmissible and should be excluded.

      Defendants have never provided any discovery concerning Version 5.17, even

though it is responsive to Plaintiffs’ discovery requests and even though Defendants

had a duty to supplement under Rule 26(e), even after the close of fact discovery.
       Case 1:17-cv-02989-AT Document 1800 Filed 01/25/24 Page 2 of 16




On multiple occasions, Plaintiffs affirmatively asked if Defendants would

supplement their responses, and Defendants chose not to.

      If Defendants intended to introduce evidence about Version 5.17 as part of its

defense, they needed to disclose it in discovery, so that Plaintiffs’ experts could

evaluate whether and to what extent it mitigates the serious security vulnerabilities

in the current version of the Dominion software used by Georgia. Plaintiffs’ experts

would also have needed to examine whether Version 5.17 introduces any new

vulnerabilities that could be as bad or worse than the ones they identified in the

current version. Plaintiffs must also be entitled to take discovery into the costs and

administrative burdens of upgrading to Version 5.17, which likely are far greater

than those associated with the relief Plaintiffs are seeking in this case. Defendants’

failure to provide any discovery on Version 5.17 was not substantially justified, and

permitting them to introduce such information at trial would substantially prejudice

the Plaintiffs, who would be learning about the evidence for the first time during

trial. That is precisely the type of trial by ambush that the discovery rules are

intended to prevent.

      Further, the State’s supposed efforts to implement Version 5.17 is irrelevant

to the case at hand. Plaintiffs are seeking relief for the upcoming 2024 elections in

Georgia. The State has made clear—including during the course of this trial—that

the State will not adopt Version 5.17 in time for the 2024 election cycle. Version

                                          2
       Case 1:17-cv-02989-AT Document 1800 Filed 01/25/24 Page 3 of 16




5.17, in addition to never being disclosed during discovery, will not provide the relief

that Plaintiffs are seeking, and is therefore irrelevant for the purposes of this case.

II.   BACKGROUND

      On July 9, 2021, Curling Plaintiffs served their third Requests for

Production on the State Defendants (the “3rd RFPs”). (Ex. A). Within these

requests, Curling Plaintiffs asked Defendants to produce “Documents reflecting

any actual, anticipated, or contemplated plans to replace Georgia’s current voting

software or equipment with different voting software or equipment, such as BMDs

that do not generate bar codes for tabulation, and any communications regarding

such plans.” Id. at 10-11. State Defendants provided their objections and responses

to the 3rd RFPs on July 26, 2021. (Ex. B). Documents related to Dominion Suite

5.17 were not included in the State’s response and related production.

      Such documents are plainly responsive. On June 21, 2023, Michael Barnes

appeared at a State Election Board meeting and described his understanding of

how 5.17 differs from the current Dominion Suite 5.5-A used in Georgia. As he

put it, “it’s really not an upgrade.” Ex. F, 80:14. He explained that it will “require

us to fully rebuild the system and that means the election management systems

have to be completely rebuilt.” Id. at 80:16-19. He explained that “an additional

amount of hardware has got to be procured for county use.” Id. at 80:24-25. With

respect to BMDs in particular, he explained that the transition to 5.17 “will require

                                           3
       Case 1:17-cv-02989-AT Document 1800 Filed 01/25/24 Page 4 of 16




not just a simple install and update,” but that they will need to broken down “all

the way back down to the BIOS level.” Id. at 81:16-25.

      Later in July 2021, Curling Plaintiffs served their third set of Interrogatories

on the State Defendants (the “3rd ROGs”). (Ex. C). Curling Plaintiffs’ 3rd ROGs

contained one request, asking Defendants to “Identify and describe with specificity

all measures taken to investigate, evaluate, remedy, mitigate, or otherwise address

each of the Security Vulnerabilities and problems with the Current Election System

identified in Dr. J. Alex Halderman’s declarations, reports, and testimony in this

matter.” Id. at 9. State Defendants responded to this request on October 1, 2021,

indicating that because Dr. Halderman’s report was designated Attorneys’ Eyes

Only, they “do not have knowledge of the Security Vulnerabilities and problems

with the Current Election System identified in Dr. Halderman’s report.” (Ex. D at

4).

      Subsequently, nearing the close of fact discovery, Plaintiffs emailed

Defendants inquiring into Defendants’ plans to supplement their discovery

responses and document productions, as they had neglected to do so during the

duration of the discovery period. (See Ex. E, Nov. 15-16, 2022 email thread

between D. Cross, B. Tyson and J. Belinfante). Defendants replied that they would

review “the pending requests and see if there is anything to supplement.”

Defendants did not supplement their responses to add information about Version

                                          4
       Case 1:17-cv-02989-AT Document 1800 Filed 01/25/24 Page 5 of 16




5.17 or any steps taken to mitigate the vulnerabilities identified by Dr. Halderman,

nor did they produce documents regarding these issues.

       At the time of Plaintiffs’ request for supplementation, Defendants were

aware of, and were considering Version 5.17. During his 30(b)(6) deposition on

October 12, 2022, Gabriel Sterling mentioned Version 5.17, testifying that Georgia

was “looking at moving to 5.17 on Democracy Suite from Dominion.” See Ex. G,

Oct. 12, 2022 Dep. of G. Sterling (SoS 30(b)(6) at 152:25-153:1. Nevertheless,

Defendants did not supplement discovery responses and productions that were

clearly related to the Version 5.17, which Georgia was contemplating before

Plaintiffs inquired into Defendants’ plans to supplement.

III.   ARGUMENT

       Evidence relating to the State’s mitigation measures and implementation of

Version 5.17 is inadmissible and should be excluded. Defendants did not produce

documents or provide discovery responses pertaining to these issues, despite

requests clearly relating to it; Defendants failed to supplement their responses or

productions in light of mitigation efforts and Version 5.17; Defendants have no

justification for these failures; introducing this evidence prejudices Plaintiffs; and

it is not relevant to the case at hand.




                                           5
       Case 1:17-cv-02989-AT Document 1800 Filed 01/25/24 Page 6 of 16




      A.     Defendants did not produce documents or provide discovery
             responses about the State’s mitigation measures or Version 5.17.

      The Federal Rules of Civil Procedure 37(c)(1) provides that “if a party fails

to provide information or identify a witness as required by Rule 26(a) or (e), the

party is not allowed to use that information or witness to supply evidence on a

motion, at a hearing, or at a trial, unless the failure was substantially justified or is

harmless.” Fed. R. Civ. P. 37(c)(1). Canon, Inc. v. Color Imaging, Inc., 227 F.

Supp. 3d 1303, 1311 (N.D. Ga. 2016) (“Rule 26(e) requires a party to supplement

its discovery responses…in a timely manner when it learns of additional or

corrective information). See also C&H Liquor Store, Inc. v. Harleysville Preferred

Ins. Co., 413 F. Supp. 3d 1238, 1244 (N.D. Ga. 2019) (same).

      Courts in this jurisdiction routinely preclude evidence that should have been

supplemented pursuant to Rule 26(e). See Canon, Inc. v. Color Imaging, Inc., 227

F. Supp. 3d at 1313. This evidence can only be introduced at trial if the party

demonstrates that its failure to supplement was substantially justified or harmless.

Fed. R. Civ. P. 37(c)(1). In Canon, this Court held that the Defendants had not met

their Rule 37 burden, as Defendants did not provide a sufficient reason for waiting

to introduce evidence, and that a seven-month delay in doing so was not

substantially justified or harmless. Id. at 1312-1313. See also, Paul v. Aramark

Healthcare Support Servs., LLC, 2016 WL 7888045, at *4 (N.D. Ga. Jun. 2, 2016)

(holding that a failure to supplement is not harmless when the late disclosure
                                          6
       Case 1:17-cv-02989-AT Document 1800 Filed 01/25/24 Page 7 of 16




deprives the non-producing party the ability to perform discovery related to the

document in question).

      Here, Defendants have failed to meet the requirements of 26(e) both with

regards to the State’s efforts to mitigate the vulnerabilities highlighted by Dr.

Halderman, and the State’s intended use of Version 5.17. Curling Plaintiffs served

discovery requests on Defendants which clearly would encompass evidence

relating to these issues. See Exs. A at 10-11 and C at 9. Defendants, as evidenced

through Gabriel Sterling’s deposition, were aware of the 5.17 Software, and had

discussions to implement the software, as late as October of 2022. Despite this,

Defendants, after an inquiry by Plaintiffs, did not supplement any of their

discovery responses or productions to account for Version 5.17. Defendants

themselves have recently discussed the importance of Rule 26, arguing that

components of Dr. Halderman’s report should be excluded. Here, however,

Plaintiffs affirmatively requested that Defendants supplement their responses and

productions more than 15 months ago, despite the obligation to do so lying with

Defendants. (Defendants, on the other hand, neglected to request extraneous

source code from Dr. Halderman until the eve of trial, despite orders from the

Court to seek this discovery more than 18 months ago). As such, Defendants have

not met their Rule 26(e) requirements.



                                           7
         Case 1:17-cv-02989-AT Document 1800 Filed 01/25/24 Page 8 of 16




         B.   Defendants’ failure to supplement their discovery responses is
              neither justified nor harmless.
         Defendants cannot demonstrate that their failure to supplement in light of

Version 5.17 was justified or harmless. Defendants waited until trial to introduce

this evidence, despite having years to amend a number of their responses. As

established through Mr. Sterling’s October 2022 deposition, the State was

considering internally whether to adopt Version 5.17, yet Defendants failed to

produce any documents or provide a single discovery response pertaining to this.

Similarly, despite having access to Dr. Halderman’s report for over 2.5 years,

Defendants have failed to identify any mitigation measures undertaken by the

State.

         In an attempt to explain these omissions, Defendants told the Court:

         In terms of things that were not produced during discovery, discovery ended
         as to everything but Coffee County effectively last year, and I don’t think it
         is fair for the State to be judged on what it was doing in some cases a year or
         two ago when we’re talking about current threats now. The State does move
         on, and these things have to be able to be provided for them to use as a fact-
         finder.

Trial Tr. Vol. 5A, 221:17-222:2. There are two problems with that statement.

First, it is factually incorrect. As explained below, there is no timeline for Version

5.17’s implementation. The Court can only “judge” the state for the election

security measures it has in place to protect Plaintiffs’ constitutional rights today,

not what it might do at some unknown point in the future. Second, it fails to


                                            8
       Case 1:17-cv-02989-AT Document 1800 Filed 01/25/24 Page 9 of 16




acknowledge that regardless of when discovery concluded, the state’s duty to

supplement its responses was ongoing. If they intended to use this evidence at

trial, it needed to be disclosed.

      The failure to do so is highly prejudicial to Plaintiffs. As an initial matter,

Defendants, by flouting the discovery process, have deprived Plaintiffs the

opportunity to test their claims. As officials of the Secretary’s office have made

clear, Version 5.17 is a fundamentally new version of the software. Michael

Barnes stated to the SEB that it “will require not just a simple install and update,”

but that they will need to be broken down “all the way back down to the BIOS

level.” Ex. F at 81:16-25. Defendants have not identified, what, if any

vulnerabilities they have addressed, and have no expert that can adequately address

this during trial. Further, additional discovery would almost certainly establish

new, dangerous vulnerabilities within the State’s election equipment. Given that

the State’s last software upgrade introduced new vulnerabilities, as well as the

overall lack of sophistication and accountability within the State’s election-facing

officials, Plaintiffs are skeptical that additional upgrades would be free from

vulnerabilities. Time and time again, the State has demonstrated that they are

unable to implement sound election software, as emphasized by the DRE system

and Democracy Suite Version 5.5-A.



                                          9
       Case 1:17-cv-02989-AT Document 1800 Filed 01/25/24 Page 10 of 16




      In addition, Plaintiffs should be entitled to take discovery into the cost and

administrative burdens of upgrading the voting machines in all 159 counties to

Version 5.17. Defendants have argued in favor of the current system and opposing

changes that the cost and administrative burdens of making such changes would be

too great. Plaintiffs must therefore be able to take discovery and show that the

relief they are seeking very likely costs far less than the cost of upgrading to

Version 5.17, and that Plaintiffs’ requested relief would impose a far lesser burden

on officials responsible for administering elections than implementing Version

5.17. Moreover, Version 5.17 is unlikely to be the last major software change the

State will need to make if it continues using BMDs. As long as the State uses

BMDs, the software and devices will have to be continuously upgraded, creating

massive costs and logistical burdens that dwarf those of the relief sought by

Plaintiffs. See Ex. F at 92:21-93:11 (Mr. Barnes explaining how when a new

version comes out “there might be another version coming right behind it”).

      This Court recently ruled that Defendants were not permitted to introduce

seven untimely witnesses, one of whom, Nick Ikonomakis, was slated to discuss

Version 5.17. (See Dkt. 1749). In its ruling, the Court held that Defendants did not

demonstrate how their failure to timely introduce these witnesses was justified or

harmless. Dkt. 1749 at 9. Similar to his appearance as a witness, the subject of

Mr. Ikonomakis’ testimony would prejudice Plaintiffs. Plaintiffs have had no

                                          10
       Case 1:17-cv-02989-AT Document 1800 Filed 01/25/24 Page 11 of 16




opportunity to review Version 5.17 or the pilot test that the State recently

conducted in five counties (which failed in three of those counties, according to

Mr. Sterling’s testimony in this trial) and to structure its strategy accordingly. See

Trial Tr. Vol. 5A, 219:19-24.

       Defendants have not demonstrated how their failure to supplement with the

State’s mitigation measures and Version 5.17 was justified or is harmless. As

such, Defendants should not be permitted to introduce and rely on this evidence

during trial.

       C.       Version 5.17 will not be implemented during the 2024 election
                cycle, and is therefore not relevant to the relief sought by
                Plaintiffs.

       Throughout their case, Plaintiffs have argued that the relief they are seeking

is for the Court to enjoin the BMD system prior to the 2024 election cycle.

Meanwhile, the State has made it clear that Version 5.17 will not be implemented

in time for the 2024 election.

       Under the Federal Rules of Evidence, “evidence is relevant if it has any

tendency to make a fact more or less probable and that fact is of consequence in

determining the action.” Fed. R. Evid. 401. “Irrelevant evidence is inadmissible.”

Fed. R. Evid. 402. “To determine whether a fact is of consequence, we look to the

elements of the cause of action.” Johnson v. Jennings, 772 Fed. Appx. 822, 825

(11th Cir. 2019).

                                          11
       Case 1:17-cv-02989-AT Document 1800 Filed 01/25/24 Page 12 of 16




      As stated, Plaintiffs seek an injunction against Georgia’s continued use of

the BMD system. Particularly, Plaintiffs seek an injunction prior to the 2024

election cycle, lest they risk further disenfranchisement. Georgia has made it clear,

however, that Version 5.17 will not be implemented in 2024. Speaking at a

November 1, 2023 Senate Ethics Committee meeting, Charlene McGowan, legal

counsel for Georgia’s Secretary of State’s office, stated that implementing Version

5.17 would require the State “to physically touch every single piece of election

equipment,” and that Georgia has "approximately 40,000 pieces of equipment that

we must go in and physically touch and install 5.17 on each piece of equipment.”1

McGowan further commented that implementing Version 5.17 ahead of the 2024

election cycle would be a “rushed process.” Ex. H.

      Vague statements such as the above emphasize the fact that Georgia has no

immediate plans to implement any sort of upgrade or update, and any evidence

pertaining to Version 5.17 is wholly irrelevant to the relief that Plaintiffs are

seeking.

IV.   CONCLUSION

      Defendants did not supplement their discovery responses and productions in

light of the State’s purported efforts to mitigate the vulnerabilities identified by Dr



1
 A recording of the hearing is available at
https://www.youtube.com/watch?v=RgINIFZho0E.
                                         12
       Case 1:17-cv-02989-AT Document 1800 Filed 01/25/24 Page 13 of 16




Halderman and to implement Version 5.17. Defendants' failure to supplement

deprived Plaintiffs of the ability to test Defendants’ claims and to expose

additional vulnerabilities, which is especially prejudicial considering the timing of

the introduction of this material. Evidence pertaining to Version 5.17 is also

irrelevant, as the State has demonstrated it will not implement this software until at

least after the 2024 election cycle. As Plaintiffs’ relief pertains to the 2024

elections, Version 5.17 is not a fact of consequence. Exclusion is necessary to

enforce the Federal Rules of Civil Procedure and Evidence, jurisdictional

precedent, and to prevent severe prejudice to Plaintiffs.




      Respectfully submitted this 24th Day of January, 2024.

/s/ David D. Cross                           /s/ Halsey G. Knapp, Jr.
David D. Cross (pro hac vice)                Halsey G. Knapp, Jr.
Mary G. Kaiser (pro hac vice)                GA Bar No. 425320
Matthaeus Martino-Weinhardt                  Adam M. Sparks
(pro hac vice)                               GA Bar No. 341578
Ramsey Fisher (pro hac vice)                 KREVOLIN & HORST, LLC
Aaron Scheinman (pro hac vice)               1201 West Peachtree Street, NW
Benjamin Campbell (pro hac vice)             Suite 3250
MORRISON & FOERSTER LLP                      Atlanta, GA 30309
2100 L Street, NW, Suite 900                 (404) 888-9700
Washington, DC 20037                         hknapp@khlawfirm.com
(202) 887-1500
dcross@mofo.com




                                          13
     Case 1:17-cv-02989-AT Document 1800 Filed 01/25/24 Page 14 of 16




                                         /s/ Christian G. Andreu-von Euw
                                         Christian G. Andreu-von Euw
                                         (pro hac vice)
                                         THE BUSINESS LITIGATION GROUP, PC
                                         150 Spear Street
                                         San Francisco, CA 94105
                                         (415) 765-6633
                                         christian@blgrp.com
   Counsel for Plaintiffs Donna Curling, Donna Price & Jeffrey Schoenberg

/s/ Bruce P. Brown                       /s/ Robert A. McGuire, III
Bruce P. Brown                           Robert A. McGuire, III
Georgia Bar No. 064460                   Admitted Pro Hac Vice
BRUCE P. BROWN LAW LLC                     (ECF No. 125)
1123 Zonolite Rd. NE                     ROBERT MCGUIRE LAW FIRM
Suite 6                                  113 Cherry St. #86685
Atlanta, Georgia 30306                   Seattle, Washington 98104-2205
(404) 881-0700                           (253) 267-8530
             Counsel for Plaintiff Coalition for Good Governance


/s/ Bruce P. Brown
Bruce P. Brown
Georgia Bar No. 064460
BRUCE P. BROWN LAW LLC
1123 Zonolite Rd. NE
Suite 6
Atlanta, Georgia 30306
(404) 881-0700
     Counsel for Plaintiffs Laura Digges, William Digges III & Megan Missett




                                      14
      Case 1:17-cv-02989-AT Document 1800 Filed 01/25/24 Page 15 of 16




              IN THE UNITED STATES DISTRICT COURT
             FOR THE NORTHERN DISTRICT OF GEORGIA
                        ATLANTA DIVISION

DONNA CURLING, ET AL.,
Plaintiffs,
                                            Civil Action No. 1:17-CV-2989-AT
v.

BRAD RAFFENSPERGER, ET AL.,
Defendants.

                     CERTIFICATE OF COMPLIANCE

      Pursuant to LR 7.1(D), I hereby certify that the foregoing document has been

prepared in accordance with the font type and margin requirements of LR 5.1, using

font type of Times New Roman and a point size of 14.

                                            /s/ David D. Cross
                                            David D. Cross




                                       15
       Case 1:17-cv-02989-AT Document 1800 Filed 01/25/24 Page 16 of 16




               IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF GEORGIA
                         ATLANTA DIVISION

 DONNA CURLING, ET AL.,
 Plaintiffs,
                                                Civil Action No. 1:17-CV-2989-AT
 v.

 BRAD RAFFENSPERGER , ET AL.,
 Defendants.

                          CERTIFICATE OF SERVICE

      I hereby certify that on January 24, 2024 , a copy of the foregoing

PLAINTIFFS’ MOTION TO EXCLUDE EVIDENCE AND ARGUMENT

CONCERNING DOMINION DEMOCRACY SUITE 5.17 was electronically

filed with the Clerk of Court using the CM/ECF system, which will automatically

send notification of such filing to all attorneys of record.

                                                /s/ David D. Cross
                                                David D. Cross




                                           16
